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UNITED STATES DISTRICT CoURT

for the

Southern District of Alabama

SUBPOENA TO TESTIFY BEFORE A GRAND JURY

To: Gmai| (Goog|e, |nc.)

YOU ARE COMMANDED to appear in this United States district court at the tirne, date` and place shown
below to testify before the court’s grand jury. When you arrive_. you must remain at the court until the judge or a court

officer allows you to leave.

 

` Place; uNlTEo srATES olsTRlcT couRr Date and Time: l
113 sT. JosEPi-i srREET

MOB|LE, ALABAN'|A 36602 1 05/24/2017 8;30 am

 

You must also bring with you the following documents, electronically stored information or objects _rb!ank ifnar

applicable)f
SEE ATTACHMENT

Note: The party who requested your
attendance as a witness is
responsible for the payment of
your attendance fee, mileage and
expenses ofsubsistence as pro-
vided by Title 28, Para. 1821,

U. S. Code.

/ ';‘/€'S _D_!-S;'L"~».__
Daie: 05/04/2017 ,»"*" * "’f>\ CLERK OF COURT CHARLES R. DIARD, JR.

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Sz`gnalure of C lerk or:b-Mt_v Clerk

 

The narne, address. e-mail, and telephone number of the United States attorney, or assistant United States attorney. who

requests this subpoena_ are:

AUSA Sean P. Costello
63 S. Roya| Street, Suite 600
N|obile, Alabama 36602 v Telephone: (251) 441 -5845

P|ease contact Eric Day, Victim/Wltness Coordinator, (251) 441-5845, prior to trial date regarding appearance dates,
fees, trave|, etc.

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PROOF OF SERVICE

ThlS Sl.lprCI‘la fOI' (rrame of individual Or Orgam'zatr`onj

 

was received by me on (daze;

[l I served the subpoena by delivering a copy to the named person as follows:

 

 

01'1 (da!e) ; Ol‘

 

U I returned the subpoena unexecuted because:

 

 

l declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Prr'nted name and title

 

Server 's address

Additional information regarding attempted service, etc:

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Attachment to Subpoena

TO: Gmai| (Google, lnc)
ATTN: Goog|e Lega| investigations Support
1600 Amphitheatre Parkway
Mountain View, CA 94043
Emai|: USl_awEnforcement@goog|e.com

For the below listed Goog|e emai| account, please provide any and all records in accordance with the
following, including data preserved in accordance with previous preservation requests:

- Subscriber name and address for the Goog|e Accounts

- Date account was created and current account status

- Registration source lP address

- Log of |ogin activity including date, time, and source lP address

- A complete list of all Goog|e Services utilized by the account

- Fi|e names and metadata for any files stored under additional Google services to include Drive,

Photos, Goog|e+, Youtube, Wa|let, and any other Goog|e services in use.

- Any Goog|e Accounts which utilize the below account as a secondary emai| address

Dig.curr.2014@gmail.com

Please provide the information requested in electronic format if possible.
Responses and questions can be sent to:

FB| N|obi|e

200 North Roya| Street

Mobi|e, AL 36602

Attn: Specia| Agent lames R. Hlavin, (251) 219-3518

Email: jim.h|avin@ic.fbi.gov

PLEASE DO NOT NOTlFY THE ACCOUNT HOLDER OF TH|S REQUEST OR SHUT
DOWN OR FREEZE THE ACCOUNT AS A RESULT OF TH|S REQUEST. THANK YOU.

